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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOHN HEYKOOP doing business as
EAGLE TOWING,
                                           NO. 1:18-cv-00632
       Plaintiff,
                                           HON. ROBERT J. JONKER
v
                                           MAG. PHILLIP J. GREEN
MICHIGAN STATE POLICE, DAVID
ROESLER, JEFFREY WHITE, and
CHRIS McINTIRE,

       Defendants.

                                           Patrick S. Myers (P81444)
Christopher Scott Patterson (P74350)       Assistant Attorney General
John Seamus Brennan (P55431)               Attorney for Defendant
Fahey Schultz Burzych Rhodes PLC           Civil Litigation, Employment &
Attorney for Plaintiff                     Elections Division
4151 Okemos Road                           P.O. Box 30736
Okemos, MI 48864                           Lansing, MI 48909
(517) 381-0100
                                           (517) 373-6434
                                                                                 /


                            JOINT STATUS REPORT

      A Rule 16 Scheduling Conference is scheduled for August 3, 2018, before the

Hon Robert Jonker. Appearing for the parties as counsel will be: John S. Brennan

for the Plaintiff, and Patrick S. Myers for Defendants.

      Jurisdiction:       The basis for the Court’s jurisdiction over Counts in the

Complaint, except Count V is 28 U.S.C. § 1331, as those Counts arise under the

Constitution and laws of the United States. The Court may exercise supplemental

jurisdiction over Count V under 28 U.S.C. § 1367.
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      Jury or Non-Jury:           This case is to be tried before a jury as trier of law

and fact.

      Judicial Availability:      The parties do not agree to have a United State

Magistrate Judge conduct any and all further proceedings in the case, including

trial, and to order the entry of final judgment.

      Statement of the Case:

      Plaintiff:    This case involves the removal of Plaintiff’s towing company

from a “non-preference list” of towing companies in two posts within District 6 of

the Michigan State Police. Plaintiff alleges that the removal violates his

constitutional rights of equal protection (arbitrary enforcement of MSP Official

Order 48); free speech (assisting in retaliation for Plaintiff’s report of illegal conduct

by a law enforcement officer); and due process (deprivation of a property right

without notice and an opportunity to be heard). Plaintiff anticipates dismissing

Count V of the Complaint as the matters alleged therein have become moot.

      Defendants:       Defendants have filed a motion to dismiss in lieu of an

answer based on Eleventh Amendment immunity (as to the Michigan State Police)

and qualified and governmental immunity (as to individual Defendants). Although

Defendants have not answered the Complaint, they deny all of the factual

allegations related to the motivation and process by which Plaintiff was removed

from the no-preference towing list. Plaintiff was removed from the list in

accordance with Michigan State Police standards and within the bounds of the

Constitution.



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      Should this case survive Defendants’ pending motion to dismiss (Plaintiff’s

brief is not yet due to be filed), the case may largely depend on the disposition of

facts in dispute relating to how and why Plaintiff was removed from the list.

      Joinder of Parties and Amendment of Pleadings:                The parties expect

to file all motions for joinder of parties to this action and to file all motions to amend

the pleadings by October 1, 2018.

      Disclosures and Exchanges:

      Plaintiff’s Proposed Rule 26(a) Disclosures:

      (1) Plaintiff will disclose the information required by Fed. R. Civ. P.

          26(a)(1)(A)(i) and all other Rule 26(a)(1) disclosures by August 17, 2018.

          Plaintiff will disclose the information required by Fed. R. Civ. P.

          26(a)(1)(A)(ii), which will consist primarily of all documents consisting of

          communications relating to his reporting of a law enforcement officer and

          to the removal of Plaintiff’s company from the no-preference towing list.

          Plaintiff will disclose the information required by Fed. R. Civ. P.

          26(a)(1)(A)(iii), which will be based on business records and receipts before

          and after Plaintiff’s removal from the no-preference towing list. Plaintiff

          will make this disclosure by August 17, 2018. Plaintiff has no information

          called for by Fed. R. Civ. P. 26(a)(1)(A)(iv).

      (2) Plaintiff will disclose the information required by Fed. R. Civ. P. 26(a)(2)

          at least 90 days before the date set for trial.




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       (3) Plaintiff will disclose the information required by Fed. R. Civ. P. 26(a)(3)

          at least 30 days before the date set for trial.

       Defendants’ Proposed Rule 26(a) Disclosures:

       (1) Defendants will disclose the information required by Fed. R. Civ. P.

          26(a)(1) by August 17, 2018.

       (2) Defendants will disclose the information required by Fed. R. Civ. P.

          26(a)(2) at least 90 days before the date set for trial.

       (3) Defendants will disclose the information required by Fed. R. Civ. P.

          26(a)(3) at least 30 days before the date set for trial.

       Disclosure of Lay Witnesses: The parties propose that disclosure of lay

witnesses in accordance with Rule 26(a)(3) be made by January 1, 2019.

       Voluntary Production:         The parties are unable to agree on voluntary

production at this time.

       Discovery:      The parties recommend that there be no discovery until the

Court rules on Defendants’ pending motion to dismiss. If Defendants’ motion is

denied, the parties believe discovery can be completed within six months of the Court’s

ruling. The parties agree that this Court’s presumptive discovery limitations are

sufficient to prepare this case for trial: limits for interrogatories; (Rule 33(a) (25

single part questions)) and depositions (Rule 30(a)(2)(A) (10 depositions per side);

Rule 30(d)(1) (one day of seven hours per witness)).

       The parties agree that the scope of discovery is primarily to discern and learn

the facts regarding Plaintiff’s claim of retaliation and the facts leading up to and



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including the removal of Plaintiff’s company from the no-preference towing list.

This discovery will include discovery relating to MSP Official Order 48, its creation,

and its implementation by Defendants.

      Motions:     The parties anticipate that all dispositive motions will be filed

within 30 days following the close of discovery. The parties acknowledge that it is

the policy of this Court to prohibit the consideration of non-dispositive discovery

motions unless accompanied by a certification that the moving party has made a

reasonable and good faith effort to reach agreement with opposing counsel on the

matters set forth in the motion.

      Alternative Dispute Resolution:          The parties recommend that this case

be submitted to the following method(s) of alternative dispute resolution:

      Plaintiff: While Plaintiff is open to facilitative mediation, Plaintiff does not

recommend it, because Plaintiff’s most significant request for relief is an injunction

that is not really susceptible to a negotiated settlement. In addition, Plaintiff has

made multiple overtures to Defendants to resolve this matter short of litigation, and

Defendants have in each instance simply refused to communicate with Plaintiff.

      Defendants: Defendants do not think that ADR is appropriate at this time.

Defendants further recommend that if ADR is required that a United States

Magistrate Judge be assigned to facilitate settlement.




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       Length of Trial: Counsel estimate the trial will last approximately 4 days,

total, allocated as follows:

2.5 days for Plaintiff’s case,

1.5 days for Defendants’ case.

       Prospects of Settlement:       The status of settlement negotiations is:

On July 5, 2018, Plaintiff proposed a settlement through counsel to the Michigan

Assistant Attorney General. The proposed settlement has been reviewed by

Michigan State Police and has been rejected.

       Other:     At this time there are no special characteristics that may warrant

extended discovery, accelerated disposition by motion, or other factors relevant to

the case.

                                               Respectfully submitted,




/s/ John S. Brennan                     /s/ Patrick S. Myers
Attorney for Plaintiff                  Assistant Attorney General
                                        Attorney for Defendants.




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